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mssb−defntc (Rev. 12/17)


                                  UNITED STATES BANKRUPTCY COURT
                                       Southern District of Mississippi

In re:                                                   Case No.: 19−01861−NPO
                                                         Chapter: 13

         Jessie Benard
         5590 Nailor Rd
         Vicksburg, MS 39180

Social Security / Individual Taxpayer ID No.:
      xxx−xx−7212
Employer Tax ID / Other nos.:


                                            DEFICIENCY NOTICE
                                       (Notice of Missing Documents and
                               Notice of Dismissal if Documents Not Timely Filed)


To the Debtor(s) and his attorney, if any:

In order for this case to be administered, it is necessary that the item(s) described below be filed immediately.

Chapter 13 Plan due 05/31/2019
Aty Disclosure Stmt. due 05/31/2019
Ch13 Income Form 122C−1 due 05/31/2019
Sum. of Assets and Liabilities due 05/31/2019
Schedules A−J2 due 05/31/2019
Stmt. of Fin. Affairs due 05/31/2019

In the event the Schedules, Statements, and Other Documents pursuant to Federal Rules of Bankruptcy
Procedure, Rule 1007(c) and/or 3015(b) are not filed on or before the above due deadline, this case may be
dismissed without further notice or hearing.

Dated: 5/17/19                                          Danny L. Miller, Clerk of Court
                                                        501 East Court Street, Suite 2.300
                                                        P.O. Box 2448
                                                        Jackson, MS 39225−2448


Note: Pursuant to Miss. Bankr. L. R. 1009−1, it is the responsibility of the debtor to notice any added creditors.
Therefore, if there are creditors listed on the schedules which were not listed when the matrix was initially filed,
the debtor/attorney for debtor should notice the added creditors. A copy of the notice with certificate of mailing
should be filed simultaneously with the schedules.
